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5    Attorneys for Defendant
     LINDA M. BURKE
6
7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
8
                               EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                     CASE NO. S-05-CR 00365 FCD
11                                                 AMENDED STIPULATION AND
                 Plaintiff,                        ORDER MODIFYING TERMS OF
12                                                 PRETRIAL RELEASE AND
           vs.                                     SUBSTITUTING SECURITY FOR
13                                                 APPEARANCE BOND
     JAMES D. BURKE and                            _______________________________
14   LINDA M. BURKE,
15
                 Defendants.
16                                        /
17                                      BACKGROUND
18         The defendant, Linda Burke, was indicted on September 8, 2005 and was
19   ordered released pending trial on September 16, 2005 on certain terms and conditions
20   which included the execution and filing of an appearance bond in the amount of
21   $100,000.00. This bond was to be secured by equity in real property located at 7266
22   Silver Charm Court, Las Vegas, Nevada, and owned in fee simple by the defendant
23   (the “Las Vegas house”).
24         On or about September 16, 2005, Linda Burke filed with this court the required
25   appearance bond and a recorded deed of trust was filed on or about October 26, 2005.
26
27         Co-defendant James D. Burke was ordered released pending trial on a complaint
28   filed against him on July 22, 2005 and an indictment filed on September 8, 2005 on

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1    certain terms and conditions which included the execution and filing of an appearance
2    bond in the amount of $75,000.00. This bond was secured by equity in real property
3    located at 195 Falls Drive, East Palm Desert, California, currently owned in fee simple
4    by defendant Linda Burke with no liens or mortgages against it (the “Condominium”).
5          James Burke filed with this court the required appearance bond and a recorded
6    deed of trust on the Condominium identifying the Clerk as beneficiary was filed on or
7    about September 1, 2005.
8          According to public records, the Condominium was purchased in July 2000 for
9    $188,000.00, and, for the 2006 tax year, has been assessed for tax purposes at a value
10   of $209,186.00.
11                                        STIPULATION
12         It is hereby stipulated between counsel for Linda Burke and counsel for the
13   government that the terms and conditions of her pretrial release should be modified as
14   follows:
15         1.    The amount of Linda Burke’s bond shall remain at $100,000.00, but shall
16   instead be secured by the equity in the Condominium property in order to permit her the
17   opportunity to re-finance the Las Vegas house to obtain funding necessary for her
18   continued defense of this case;
19         2.     That said bond shall be secured by a new, second deed of trust in the
20   amount of $100,000.00 and by any and all remaining equity in the Condominium
21   property;
22         3.     That upon the posting of the new, second deed of trust covering the
23   Condominium property, the Clerk of the court be instructed to reconvey to Linda Burke
24   the interest created by the earlier recording of the deed of trust covering the Las Vegas
25   house.
26   ///
27   ///
28   ///
                                                2
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1    Dated: February 27, 2008
2                                      SEGAL & KIRBY
3
4                                      By: /s/ Malcolm S. Segal
                                        MALCOLM S. SEGAL
5                                         Counsel for Defendant LINDA M. BURKE
6
7    Dated: February 27, 2008
8
9                                      By: /s/ Kyle Reardon
                                         KYLE REARDON
10                                       Assistant United States Attorney
11
          IT IS SO ORDERED.
12
     Dated: February 29, 2008.
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